Case 2:93-cv-00902-RBS Document 585-3 Filed 01/20/20 Page 1 of 16 PageID# 5188




                               EXHIBIT 3
       Case 2:93-cv-00902-RBS Document 585-3 Filed 01/20/20 Page 2 of 16 PageID# 5189




T20 Expedition
Marconi Wireless Telegraph Extraction
        Case 2:93-cv-00902-RBS Document 585-3 Filed 01/20/20 Page 3 of 16 PageID# 5190




Arrival on site
 Perform a GVI (General Video Inspection) and verify
  integrity of superstructure and any potential hazards,
  obstructions, or changes in the wreck since last observed,
  complete survey
 Establish the workable weather limits and any subsea
  currents to ensure dual ROV operations (SIMOPS)
 Deploy and stage required subsea tooling to the work site
 Clear any overburden from the working area
 Establish the working perimeter required for ROV entry
  and target accessibility
Case 2:93-cv-00902-RBS Document 585-3 Filed 01/20/20 Page 4 of 16 PageID# 5191
Case 2:93-cv-00902-RBS Document 585-3 Filed 01/20/20 Page 5 of 16 PageID# 5192
Case 2:93-cv-00902-RBS Document 585-3 Filed 01/20/20 Page 6 of 16 PageID# 5193
Case 2:93-cv-00902-RBS Document 585-3 Filed 01/20/20 Page 7 of 16 PageID# 5194
       Case 2:93-cv-00902-RBS Document 585-3 Filed 01/20/20 Page 8 of 16 PageID# 5195




Target Access
 Using the dimensional data above perforate the deck
  plating as needed
 Remove the appropriate deck plating to allow ROV
  entry and access
 Clear any remaining overburden restricting ROV
  access. This is accomplished via lift line and the ROV
  manipulators
Case 2:93-cv-00902-RBS Document 585-3 Filed 01/20/20 Page 9 of 16 PageID# 5196
       Case 2:93-cv-00902-RBS Document 585-3 Filed 01/20/20 Page 10 of 16 PageID# 5197




Target Acquisition
 The ROV will enter from above on the starboard side
  facing and working towards the port side
 The ROV will establish access, maneuverability, and
  target accessibility
 The ROV will determine the appropriate tooling and
  any necessary subsea rigging required to extract the
  primary and secondary targets
Case 2:93-cv-00902-RBS Document 585-3 Filed 01/20/20 Page 11 of 16 PageID# 5198
Case 2:93-cv-00902-RBS Document 585-3 Filed 01/20/20 Page 12 of 16 PageID# 5199
Case 2:93-cv-00902-RBS Document 585-3 Filed 01/20/20 Page 13 of 16 PageID# 5200
       Case 2:93-cv-00902-RBS Document 585-3 Filed 01/20/20 Page 14 of 16 PageID# 5201




Target Extraction & Recovery
 The ROV will collect the two primary high priority
  targets and transport them to a previously prepared
  subsea basket for safe recovery to the surface
 Once the two primary targets have been removed the
  ROV can then access and collect the three lower
  priority secondary targets and transport them to the
  subsea basket for safe recovery to the surface
Case 2:93-cv-00902-RBS Document 585-3 Filed 01/20/20 Page 15 of 16 PageID# 5202
Case 2:93-cv-00902-RBS Document 585-3 Filed 01/20/20 Page 16 of 16 PageID# 5203
